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12                                 UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15

16   CITY OF OAKLAND, a Municipal                     First Filed Case: 3:17-cv-06011-WHA
     Corporation, and THE PEOPLE OF THE               Related Case: 3:17-cv-06012-WHA
17   STATE OF CALIFORNIA, acting by and
     through the Oakland City Attorney,               Case No. 3:17-cv-06011-WHA
18
                           Plaintiffs,                STIPULATION AND [PROPOSED]
19                                                    ORDER REGARDING BP P.L.C.’S
            v.                                        MOTION TO DISMISS AND
20                                                    JURISDICTIONAL DISCOVERY
     BP P.L.C., a public limited company of
21   England and Wales; CHEVRON
     CORPORATION, a Delaware corporation;             Judge: Honorable William H. Alsup
22   CONOCOPHILLIPS, a Delaware corporation;
     EXXON MOBIL CORPORATION, a New
23   Jersey corporation; ROYAL DUTCH SHELL
     PLC, a public limited company of England and
24   Wales; and DOES 1 through 10,

25                         Defendants.

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             STIPULATION AND [PROPOSED] ORDER REGARDING BP’S MOTION TO DISMISS AND
                JURISDICTIONAL DISCOVERY; Case Nos. 3:17-cv-06011-WHA; 3:17-cv-06012-WHA
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 1
     CITY AND COUNTY OF SAN                          Case No. 3:17-cv-06012-WHA
 2   FRANCISCO, a Municipal Corporation, and
     THE PEOPLE OF THE STATE OF                      STIPULATION AND [PROPOSED]
 3   CALIFORNIA, acting by and through the San       ORDER REGARDING BP P.L.C.’S
     Francisco City Attorney DENNIS J.               MOTION TO DISMISS AND
 4   HERRERA,                                        JURISDICTIONAL DISCOVERY
 5                       Plaintiffs,
                                                     Judge: Honorable William H. Alsup
 6          v.
 7   BP P.L.C., a public limited company of
     England and Wales; CHEVRON
 8   CORPORATION, a Delaware corporation;
     CONOCOPHILLIPS, a Delaware corporation;
 9   EXXON MOBIL CORPORATION, a New
     Jersey corporation; ROYAL DUTCH SHELL
10   PLC, a public limited company of England and
     Wales; and DOES 1 through 10,
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                         Defendants.
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            STIPULATION AND [PROPOSED] ORDER REGARDING BP’S MOTION TO DISMISS AND
               JURISDICTIONAL DISCOVERY; Case Nos. 3:17-cv-06011-WHA; 3:17-cv-06012-WHA
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 1            WHEREAS, on April 19, 2018, all Defendants in the above-styled cases filed a motion to

 2   dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), while some defendants—including

 3   Defendant BP p.l.c. (“BP”)—filed a separate motion to dismiss pursuant to Federal Rule of Civil

 4   Procedure 12(b)(2)1;

 5            WHEREAS, BP’s Rule 12(b)(2) motion to dismiss asserted two distinct grounds for

 6   dismissal: failure to adequately plead that alleged in-forum activities were a “but-for” cause of

 7   Plaintiffs’ alleged injury (“But-For Argument”); and that the exercise of personal jurisdiction over

 8   BP was unreasonable under the circumstances (“Unreasonableness Argument”);

 9            WHEREAS, BP also submitted sworn declarations by William Jeffries (“Jeffries

10   Declaration”), John D. Lombardo (“Lombardo Declaration”) and Donna Sanker (“Sanker

11   Declaration”) to support its But-For Argument;

12            WHEREAS, on May 25, 2018, “[f]or the reasons stated on the record” at the hearing on

13   May 24, 2018, the Court ordered “jurisdictional discovery” as to BP and certain other Defendants,

14   and ordered supplemental briefing on the relevant motions to dismiss following the conclusion of

15   that discovery2;

16            WHEREAS, it is in the interests of all parties to speed a resolution of the Rule 12(b)(6) and

17   12(b)(2) motions;

18            WHEREAS, BP withdraws the Jeffries Declaration, the Lombardo Declaration, and the

19   Sanker Declaration and all exhibits to the three declarations, and Plaintiffs agree that, in light of this

20   withdrawal, jurisdictional discovery is no longer necessary;
21            WHEREAS, BP will promptly file, for the convenience of the Court, substitute briefs in

22   support of its motion to dismiss under Rule 12(b)(2) that eliminate reference to the withdrawn

23   factual record and contain no new legal arguments;

24            WHEREAS, Plaintiffs and BP agree that BP’s withdrawal of the Jeffries Declaration,

25   Lombardo Declaration and Sanker Declaration concerning specific personal jurisdiction in these cases

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27       See ECF 219, 17-cv-6011; ECF 184, 17-cv-6012.
     2
         See ECF 259, 17-cv-6011; ECF 217, 17-cv-6012.
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               STIPULATION AND [PROPOSED] ORDER REGARDING BP’S MOTION TO DISMISS AND
                  JURISDICTIONAL DISCOVERY; Case Nos. 3:17-cv-06011-WHA; 3:17-cv-06012-WHA
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 1   shall have the same effect as if BP had not presented that evidence nor made arguments based upon

 2   that evidence in its motion to dismiss, and that this withdrawal is without prejudice to BP’s right to

 3   contest any issue concerning the merits of Plaintiffs’ claims or BP’s right to contest personal

 4   jurisdiction in other cases;

 5          NOW THEREFORE, Plaintiffs and BP p.l.c. HEREBY STIPULATE AND AGREE, subject to

 6   the approval and order of the Court, as follows:

 7          1.      Without prejudice to BP p.l.c.’s right to support a personal jurisdiction motion with

 8   a factual record at a future time beyond the motion to dismiss stage in these cases, if necessary, or

 9   in any other case, BP p.l.c. withdraws the factual record (specifically including the Declarations of

10   William Jeffries, John D. Lombardo, and Donna Sanker, including all exhibits to these

11   Declarations) (together, “factual record”), tendered in support of BP p.l.c.’s motion to dismiss

12   under Rule 12(b)(2), such that BP p.l.c.’s Rule 12(b)(2) motion will then be based solely on the

13   allegations of the First Amended Complaints (including materials referenced therein);

14          2.      BP p.l.c. accepts that the Court should decide the motion based on the facts alleged

15   in Plaintiffs’ First Amended Complaints, and that such facts are uncontroverted for purposes of

16   BP’s motion;

17          3.      Once this stipulation has been submitted and approved by the Court, BP p.l.c. will

18   promptly file, for the convenience of the Court, substitute briefs in support of its motion to dismiss

19   under Rule 12(b)(2) that eliminate reference to the withdrawn factual record and contain no new

20   legal arguments;
21          4.      Plaintiffs withdraw the discovery served on BP p.l.c., and BP p.l.c. will forgo any

22   jurisdictional discovery against Plaintiffs in relation to or pursuant to the Court’s May 24 hearing;

23          5.      BP p.l.c.’s Rule 12(b)(2) motion, which does not challenge Plaintiffs’ allegations

24   regarding the purposeful direction requirement of specific jurisdiction, will then be ripe for decision

25   together with the comparable Rule 12(b)(2) motions of defendants Exxon Mobil Corporation, Royal

26   Dutch Shell plc and ConocoPhillips;

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             STIPULATION AND [PROPOSED] ORDER REGARDING BP’S MOTION TO DISMISS AND
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 1          6.      This agreement does not affect the rights of either party to assert any other argument,

 2   claim, or defense in these cases, to the extent permitted by state or federal law, the Federal Rules of

 3   Civil Procedure, or the Federal Rules of Evidence; and

 4          7.      This agreement does not affect the rights of either party to seek appeal from, fees or

 5   costs for, or any other right or remedy relating to the Rule 12(b)(6) motion currently pending in

 6   these cases in this Court.

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 8   IT IS SO STIPULATED.

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             STIPULATION AND [PROPOSED] ORDER REGARDING BP’S MOTION TO DISMISS AND
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 1   Dated: June 20, 2018                              Respectfully submitted,

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                                                       from this signatory
19

20   Attorneys for Defendant BP p.l.c.

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             STIPULATION AND [PROPOSED] ORDER REGARDING BP’S MOTION TO DISMISS AND
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17
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18                                                          electronic filer has obtained approval from
19                                                          this signatory.

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            STIPULATION AND [PROPOSED] ORDER REGARDING BP’S MOTION TO DISMISS AND
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 1
                                         [PROPOSED] ORDER
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated:
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 8                                                      THE HONORABLE WILLIAM ALSUP
                                                        UNITED STATES DISTRICT COURT JUDGE
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